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                                    REQUEST FOR PROPOSAL
                                  BUREAU FOR MEDICAL SERVICES

    PART 1 GENERAL INFORMATION, TERMS AND CONDITIONS

    1.1     Purpose:
    The Acquisition and Contract Administration Section of the Purchasing Division, hereinafter
    referred to as "State", is soliciting proposals for the Department of Department of Health and
    Human Resources (DHHR), Bureau for Medical Services, hereinafter referred to as "Agency",
    to provide all utilization management and prior authorization services for the Agency and
    specifically the Bureau for Medical Services (BMS), the Bureau for Behavioral Health and
    Health Facilities (BHHF). and the Bureau for Children and Families (BCF). This solicitation
    serves as notice, pursuant to West Virginia Code §5A-3-1 Ob, of the commodity or service being
    sought and is to be considered the opportunity for vendors to indicate their interest in bidding
    on such commodity or service.

    1.2      Project:
    The mission or purpose of the project is to obtain the services of a qualified vendor that has
    Medicaid and child welfare experience and expertise in utilization management. The agency
    prefers to contract with a qualified (federally designated quality improvement organization)
    (010) finn experienced in conducting medical necessary review, social necessary, and
    utilization management {UM).

    1.3    RFP Format:
    This RFP has four parts. "Part 1" contains general infonnation, terms and conditions; "Part 2"
    describes the background and working environment of the project; "Part 3" is a statement of
    the specifications for the services requested pursuant to this RFP, contractual requirements,
    and special tenns and conditions: and "Part 4" explains the required format of the Bidder's
    response to the RFP, the evaluation criteria the State will use in evaluating the proposals
    received and how the evaluation will be conducted.

1.4     Inquiries:
Additional information inquiries regarding specifications of this RFP must be submitted in
writing to the State Buyer with the exception of questions regarding the proposal submission
which may be oral. The deadline for written inquiries is identified Jn the Schedule of Events,
Section 1.16. All inquiries of specification clarification must be addressed to:

                                  Roberta Wagner, Senior Buyer
                                  Purchasing Division
                                  2019 Washington Street, East
                                  P.O. Box 50130
                                  Charleston, WV 25305-0130
                                  Fax: (304) 558-4115
                                  roberta.a. wagner@wv.gov

The vendor, or anyone on the vendor's behalf, is not permitted to make any contact
whatsoever with any member of the evaluation committee. Violation may result In
rejection of the bid. The State Buyer named above is the sole contact for any and all inquiries
after this RFP has been released .
                                                                                                 EXHIBIT

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    1.5    Vendor Registration:
    Vendors participating in this process should complete and file a Vendor Registration and
    Disclosure Statement (Form WV-1) and remit the registration fee. Vendor is not required to
    be a registered vendor in order to submit a proposal, but the successful bidder must register
    and pay the fee prior to the award of an actual purchase order or contract.

    1 .6    Oral Statements and Commitments:
    Vendor must clearty understand that any verbal representation made or assumed to be made
    during any oral discussion held between Vendor's representatives and any State personnel is
    not binding. Only the infonnation issued in writing and added to the Request for Proposal
    specifications file by an official written addendum are binding.

    1.7    Economy of Preparation:
    Proposals should be prepared simply and economically, providing a straightforward, concise
    description of Vendor's abilities to satisfy the requirements of the RFP. Emphasis should be
    placed on completeness and clarity of content.


I   1.8   Labeling of RFP Sections:
    The sections within this RFP contain instructions governing how the Vendor's proposal is to be
    arranged, submitted and to identify the material to be included therein.



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    1·.8.1 Mandatory Requirements.
    Any specification or statement containing the word Mmusf, "shall", or "will" are mandatory.
    Section 3 contains mandatory deliverables required upon contract execution. By signing and
    submitting a response to this RFP, the vendor agrees to all mandatory deliverables described
    herein. Section 4 describes RFP response requirements, which may be mandatory. The
    vendor is required to meet all mandatory requirements in order ·to be eligible for consideration
    and to continue in the evaluation process. Failure to meet or agree to mandatory items shall
    result in disqualification of the Vendor's proposal and the evaluation process will be terminated
    for that vendor. Decisions regarding compliance with any mandatory requirement shall be at
    the sole discretion of the State.

    1.8.2 Contract Terms and Conditions:
    This Request for Proposals contains all the contractual terms and conditions under which the
    State of West Virginia will enter into a contract.

    1.8.3 Informational Sections:
    All non-mandatory information specifications do not require a response from the Vendor. They
    are intended to aid the vendor in structuring an effective proposal capable of meeting the
    needs of the issuing agency.

    1.9     Proposal Format and Submission:
    1.9.1     Each proposal should be fonnatted as per the outline in Part 4 of this RFP. No other
    arrangement or distnbution of the proposal information may be made by the bidder. Failure on
    the part of the bidder to respond to specific requirements detailed in the RFP may be the basis
    for disqualification of the proposal. The State reserves the right to waive any informality in the
    proposal fonnat and minor irregularities.

    1.9.2    State law requires that the original technical and cost proposal be submitted to the
    Purchasing Division. All proposals must be submitted to the Purchasing Division prior to the

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 date and time stipulated in the RFP as the opening date.         All bids will be dated and time
 stamped to verify official time and date of receipt.

1.9.3 Vendors mailing proposals should allow sufficient time for mail delivery to ensure timely
arrival. In accordance with West Virginia Code §SA-3-11, the Purchasing Division cannot
waive or excuse late receipt of a proposal which is delayed and late for any reason. Any
proposal received after the bid opening date and time will be immediately disqualified in
accordance with State law and the administrative rules and regulations.

Vendors responding to this RFP shall submit:
One original technical and cost plus (6) convenience copies to:

                      Purchasing Division
                      2019 Washington Street, East
                      P.O. Box 50130
                      Charleston, WV 25305-0130

        The outside of the envelope or package(s) should be clearly marked:
                     Buyer:     RW - 22
                      Req#:     BMS90007
              Opening Date:
              Opening Time: 1:30 pm

1.9.4. Best Value Purchasing Standard Format
All Requests for Proposals should follow the standard fonnat defined by the Purchasing
Division. This fonnat addresses required areas and enables the agency to modify the
background and scope of work to meet its needs.

1.9.4.1 Evaluation Criteria: All evaluation criteria must be clearly defined in the specifications
section and based on a 100 point total score. Based on a 100 point total, cost shall represent
a minimum of 30 of the 100 total points in the criteria.

1.9.4.2 Proposal Format and Content Proposals shall be requested and received in two
distinct parts: Technical and Cost. The cost portion shall be sealed in a separate envelope and
will not be opened initially.

1.9.4.3 Technical Bid Opening: The Purchasing Division will open only the technical proposals
on the date and time specified in the Request for Proposal. The Purchasing Division
representative will read aloud the names of those who responded to the solicitation. The
Purchasing Division Buyer will confirm that the original packages contain a separately sealed
cost proposal prior to providing the courtesy copies to the agency to begin the evaluation
process.

1.9.4.4 Technical Evaluation: The pre-selected, approved evaluation committee will review the
technical proposals, deduct appropriate points for deficiencies and make a final written
consensus recommendation to the Purchasing Division Buyer. If the Buyer approves the
committee's recommendation, the technical evaluation will be forwarded to an intemal review
committee within the Purchasing Division.

1.9.4.5 Cost Bid Opening: Upon approval of the technical evaluation from the internal review

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committee, the Purchasing Division shall schedule a time and date to publicly open and read
aloud the cost proposals. The agency and the vendors shall be nottfied of this date.

1.9.4.6 Cost Evaluation and Resident Vendor Preference: The evaluation committee will review
the cost proposals, assign appropriate points and make a final consensus recommendation to
the Purchasing Division. In accordance with West Virginia Code §SA-3-37, the Purchasing
Division will make the detennination of the Resident Vendor Preference, if applicable. Resident
Vendor Preference provides an opportunity for qualifying vendors to request at the time of bid
preference for their residency status. Such preference is an evaluation method only and will be
applied only to the cost bid in accordance with the West Virginia Code. A certificate of
application is used to request this preference. A West Virginia vendor may be eligible for two
2.5% preferences in the evaluation process.

1.9.4.7 Contract Approval and Award: After the cost proposals have been opened, the
evaluation committee completes its review and prepares the final evaluation making its
recommendation for contract award based on the highest scoring vendor. The final evaluation
Is submitted to the Purchasing Division buyer. Once approved by the buyer, the final
evaluation must be reviewed and approved by the Purchasing Division Internal review
committee. The contract is prepared and signed in the Purchasing Division, forwarded to the
Attorney General's Office for approval as to form, encumbered and mailed to the appropriate
parties.

1.10 Rejection of Proposals:
The State shall select the best value solution according to the evaluation criteria. However, the
State reserves the right to accept or reject any or all proposals, in part or in whole at its
discretion. The State reserves the right to withdraw this RFP at any time and for any reason.
Submission of, or receipt by the State of proposals confers no rights upon the bidder nor
obligates the State in any manner.

A contract based on this RFP and the Vendor's proposal, may or may not be awarded. Any
contract resulting in an award from this RFP is not valid until property approved and executed
by the Purchasing Division and approved as to form by the Attorney General.

1.11 Incurring Costs:
The State and any of its employees or officers shall not be held liable for any expenses
incurred by any bidder responding to this RFP for expenses to prepare, deliver the proposal, or
to attend any mandatory prebid meeting or oral presentations.

1.12 Addenda:
If it becomes necessary to revise any part of this RFP, an official written addendum will be
issued by the State to all bidders of record.

1.13 Independent Price Determination:
A proposal will not be considered for award if the price in the proposal was not arrived at
independently without collusion , consultation, communication or agreement as to any matter
relating to prices with any competitor unless the proposal is submitted as a joint venture.

1.1 4 Price Quotations:
The price(s) quoted in the bidder's proposal will not be subject to any increase and will be
considered firm for the life of the contract unless specific provisions have been provided for

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 adjustment in the original contract.

1.15 Public Record:
1.15.1 Submissions are Public Record.
All documents submitted to the State Purchasing Division related to purchase orders or
contracts are considered public records. All bids, proposals or offers submitted by bidders
shall become public infonnation and are available for Inspection during nonnal official business
hours in the Purchasing Division Records and Distribution center after the bid opening.

1.15.2 Written Release of Information.
All public information may be released with or without a Freedom of Information request,
however, only a written request will be acted upon with duplications fees paid in advance.
Duplication fees shall apply to all requests for copies of any document. Currently the fees are
$0.50/page, or a minimum of $10.00 per request which ever is greater.

1.15.3 Risk of Disclosure.
The only exemptions to disclosure of information are listed in West Virginia Code §298-1-4.
Primarily, only trade secrets, as submitted by a bidder, are exempt to public disclosure. The
submission of any infonnation to the State by a vendor puts the risk of disclosure on the
vendor. The State does not guarantee non-disclosure of any information to the public.

1.16    Schedule of Events:
           Release of the RFP ........................................................... .
           Vendor's Written Questions Submission Deadline........... ..
           Response to Questions............................................ ........ ..
           Mandatory Prebid Conference......,.....................................
           Addendum Issued...................... ........................................ .
           Bid Opening Date.................... .. ........... ............................ ..

1.17 Mandatory Prebid Conference:
A mandatory prebid conference shall be conducted on the date specified above at 1:30 PM.
Said conference will be held at 350 Capitol Street, Room 251, Charleston, West Virginia
25301. All interested bidders are required to be present at this meeting. Failure to
attend the mandatory prebid conference shall automatically result In disqualification.
No one person can represent more than one vendor.

1.18 Purchasing Affidavit:
West Virginia Code §5A-3-10a requires that all bidders submit an affidavit regarding any debt
owed to the State. The affidavit must be signed and submitted prior to award. It is preferred
that the affidavit be submitted with the proposal.

1. 19   General Terms and Conditions:

By signing and submitting its proposal, the successful Vendor agrees to be bound by all the
terms contained in this RFP.

1.19.1 Conflict of Interest.
Vendor affirms that it, its officers or members or employees presently have no interest and
shall not acquire any interest, direct or indirect, which would conflict or compromise in any
manner or degree with the performance or its services hereunder. The Vendor further
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     covenants that in the performance of the contract, the Vendor shall periodically inquire of Its
     officers, members and employees concerning such interests. Any such interests discovered
I    shall be promptly presented in detail to the Agency.
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     1.19.2 Prohibition Against Gratuities:
J    Vendor warrants that it has not employed any company or person other than a bona fide
     employee working solely for the vendor or a company regularly employed as its marketing
     agent to solicit or secure the contract and that It has not paid or agreed to pay any company or
     person any fee, commission, percentage, brokerage fee, gifts or any other consideration
••   contingent upon or resulting from the award of the contract.

     For breach or violation of this warranty, the State shall have the right to annul this contract
     without liability at its discretion or to pursue any other remedies available under this contract or
     bylaw.

     1.19.3 Certifications Related to Lobbying:
     Vendor certifies that no federal appropriated funds have been paid or will be paid, by or on
     behalf of the company or an employee thereof, to any person for purposes of influencing or
     attempting to influence an officer or employee of any Federal entity, a Member of Congress, an

i    officer or employee of Congress, or an employee of a Member of Congress in connection with
     the awarding of any Federal contract, the making of any Federal grant, the making of any
     Federal loan, the entering into of any cooperative agreement, and the extension, continuation,
     renewal, amendment or modification of any Federal contract, grant, loan or cooperative

Ii   agreement.

     If any funds other than federally appropriated funds have been paid or will be paid to any
     person for influencing or attempting to influence an officer or employee or any agency, a
     Member of Congress, an officer or employee of Congress or an employee of a Member of



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     Congress in connection with this Federal contract, grant, loan or cooperative agreement, the
     Vendor shall complete and submit a disclosure form to report the lobbying.

     Vendor agrees that this language of certification shall be included in the award documents for
I    all sub-awards at all tiers, including subcontracts, sub-grants, and contracts under grants,
f    loans, and cooperative agreements, and that all sub-recipients shall certify and disclose
     accordingly. This certification is a material representation of fact upon which reliance was
     placed when this contract was made and entered into.

     1.19.4 Vendor Relationship:
     The relationship of the Vendor to the State shall be that of an independent contractor and no
     principal-agent relationship or employer-employee relationship is contemplated or created by
     the parties to this contract. The Vendor as an independent contractor is solely liable for the
     acts and omissions of its employees and agents.

     Vendor shall be responsible for selecting, supervising and compensating any and all
     individuals employed pursuant to the terms of this RFP and resulting contract. Neither the
     Vendor, nor any employees or contractors of the vendor, shall be deemed to be employees of
     the State for any purposes whatsoever.

     Vendor shall be exclusively responsible for payment of employees and contractors for all
     wages and salaries, taxes, withholding payments, penalties, fees, fringe benefits, professional

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 liability insurance premiums, contributions to insurance and pension or other deferred
 compensation plans, including but not limited to, Workers' Compensation and Social Security
 obligations, and licensing fees, etc. and the filing of all necessary documents, fonns and
 returns pertinent to all of the foregoing.

 Vendor shall hold hannless the State, and shall provide the State and Agency with a defense
 against any and all claims Including but not limited to the foregoing payments, withholdings,
 contributions, taxes, social security taxes and employer income tax returns.

 The Vendor shall not assign, convey, transfer or delegate any of its responsibilities and
 obligations under this contract to any person, corporation, partnership, association or entity
 without expressed written consent of the Agency.

  1.19.5 Indemnification:
 The Vendor agrees to indemnify, defend and hold harmless the State and the Agency, their
 officers, and employees from and against: (1) Any claims or losses for services rendered by
 any subcontractor, person or firm performing or supplying services, materials or supplies in
 connection with the performance of the contract; (2) Any claims or losses resulting to any
 person or entity injured or damaged by the Vendor, its officers, employees, or subcontractors
 by the publication, translation, reproduction, delivery, performance, use or disposition of any
 data used under the contract in a manner not authorized by the contract, or by Federal or State
 statutes or regulations; and (3) Any failure of the Vendor, its officers, employees or
 subcontractors to observe State and Federal laws, including but not limited to labor and wage
 laws.

1.19.6 Contract Provisions:
After the successful Vendor is selected, a formal contract document will be executed between
the State and the Vendor. In addition, the RFP and the Vendor's response will be included as
part of the contract by reference. The order of precedence is the contract, the RFP and the
Vendor's proposal in response to the RFP.

1.19. 7 Governing Law:
This contract shall be governed by the laws of the State of West Virginia. The Vendor further
agrees to comply with the Civil Rights Act of 1964 and all other applicable laws and
regulations, Federal, State and Local Government.

1.19.8 Compliance with Laws and Regulations:
The vendor shall procure all necessary permits and licenses to comply with all applicable laws,
Federal, State or municipal, along with all regulations, and ordinances of any regulating body.

The Vendor shafl pay any applicable sales, use or personal property taxes arising out of this
contract and the transactions contemplated thereby. Any other taxes levied upon this contract,
the transaction, or the equipment, or services delivered pursuant here to shall be borne by the
contractor. It is clearly understood that the State of West Virginia is exempt from any taxes
regarding performance of the scope of work of this contract.

 1.19.9 Subcontracts/J oint Ventures:
The Vendor is solely responsible for all work performed under the contract and shall assume
prime contractor responsibility for all services offered and products to be delivered under the
terms of this contract. The State will consider the Vendor to be the sole point of contact with

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    regard to all oontractual matters. The Vendor may, with the prior written oonsent of the State,
I   enter into written subcontracts for perfolll'lance of work under this contract; however, the
I   vendor is totally responsible for payment of all subcontractors.



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    1.19.10 Term of Contract & Renewals:
    This contract will be effective (date set upon award) and shall extend for the period of one (1)
    year, at which time the contract may, upon mutual consent, be renewed. Such renewals are
    for a period of up to one (1) year, with a maximum of four (4) one year renewals, or until such
I   reasonable time thereafter as is necessary to obtain a new contract. The "reasonable time"
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l   period shall not exceed twelve (12) months. During the "reasonable time" period the Vendor
    may terminate the contract for any reason upon giving the Agency ninety (90) days written
    notice. Notice by Vendor of intent to tenninate will not relieve Vendor of the obligation to
I   continue to provide services pursuant to the telll'ls of the contract.
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    Any change in Federal or State law, or court actions which constitute binding precedent in
    West Virginia, and which significantly alters the Vendor's required activities or any change in
    the availability of funds, shall be viewed as binding and shall warrant good faith renegotiation of
    the compensation paid to the Vendor by the Agency and of such other provisions of the
    contract that are affected. If such renegotiation proves unsuccessful, the contract may be
    terminated by the State upon written notice to the Vendor at least thirty (30) days prior to




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    termination of this contract.

    1.19.11 Non-Appropriation of FundS'.
    If the Agency is not allotted funds in any succeeding fiscal year for the continued use of the
    service covered by this contract by the West Virginia Legislature, the Agency may terminate
1   the contract at the end of the affected current fiscal period without further charge or penalty.
    The Agency shall give the vendor written notice of such non-allocation of funds as soon as
    possible after the Agency receives notice. No penalty shall accrue lo the Agency in the event
    this provision is exercised.

    1.19.12 Contract Termination:
    The State may terminate any contract resulting from this RFP immediately at any time the
    Vendor fails to carry out its responsibilities or to make substantial progress under the terms of
    this RFP and resulting contract. The State shall provide the Vendor with advance notice of
    perfonnance conditions which are endangering the contract's continuation. If after such notice
    the Vendor fails to remedy the conditions contained in the notice, within the time period
    contained in the notice, the State shall issue the Vendor an order to cease and desist any and
    all work immediately. The State shall be obligated only for services rendered and accepted
    prior to the date of the notice of termination.

    The contract may also be terminated by the State with thirty (30) days prior notice.

    1.19.13 Changes:
    If changes to the original contract become necessary, a formal contract change order will be
    negotiated by the State, the Agency and the Vendor, to address changes to the tenns and
    conditions, oosts of work included under the contract. An approved contract change order is
    defined as one approved by the Purchasing Division and approved as to form by the West
    Virginia Attorney General's Office, encumbered and placed in the U.S. Mail prior to the
    effective date of such amendment. An approved contract change order is required whenever
    the change affects the payment provision or the scope of the work. Such changes may be

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    necessitated by new and amended Federal and State regulations and requirements.

    As soon as possible after receipt of a written change request from the Agency, but in no event
    more than thirty (30) days thereafter, the Vendor shall determine if there is an impact on price
    with the change requested and provide the Agency a written statement to identifying any price
    impact on the contract or to state that there is no impact. In the event that price will be
    impacted by the change, the Vendor shall provide a description of the price increase or
    decrease involved in implementing the requested change.

    NO CHANGE SHALL BE IMPLEMENTED BY THE VENDOR UNTIL SUCH TIME AS THE
    VENDOR RECEIVES AN APPROVED WRITIEN CHANGE ORDER.

     1.19.14 Invoices, Progress Payments, & Retainage:
    The Vendor shall submit invoices, in arrears, to the Agency at the address on the face of the
    purchase order labeled "Invoice To" pursuant to the terms of the contract. Progress payments
    may be made at the option of the Agency on the basis of percentage of work completed if so
    defined in the final contract. Any provision for progress payments must also include language
    for a minimum 10% retainage until the final deliverable is accepted.

    If progress payments are permitted, Vendor is required to identify points in the work plan at
    which compensation would be appropriate. Progress reports must be submitted to Agency
    with the invoice detailing progress completed or any deliverables identified. Payment will be
    made only upon approval of acceptable progress or deliverables as documented in the
    Vendor's report. Invoices may not be submitted more than once monthly and State law forbids
    payment of invoices prior to receipt of services.

    1.19.15 Liquidated Damages: (Agency Option if appropriate)
    According to West Virginia State Code §5A-3-4(8), Vendor agrees that liquidated damages
    shall be imposed at the rate of $1,000.00 per week for failure to provide deliverables. This
    clause shall in no way be considered exclusive and shall not limit the State or Agency's right to
    pursue to any other additional remedy to which the State or Agency may have legal cause for
    action including further damages against the Vendor.

1.19.16 Record Retention (Access & Confidentiality):
Vendor shall comply with all applicable Federal and State of West Virginia rules and
regulations, and requirements governing the maintenance of documentation to verify any cost
of services or commodities rendered under this contract by Vendor. The Vendor shall maintain
such records a minimum of five (5) years and make available all records to Agency personnel
at Vendor's location during normal business hours upon written request by Agency within 1O
days after receipt of the request.

Vendor shall have access to private and confidential data maintained by Agency to the extent
required for Vendor to carry out the duties and responsibilities defined in this contract. Vendor
agrees to maintain confidentiality and security of the data made available and shall indemnify
and hold harmless the State and Agency against any and all claims brought by any party
attributed to actions of breech of confidentiality by the Vendor, subcontractors or individuals
permitted access by Vendor.




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         PART 2 OPERATING ENVIRONMENT

    I    2.1     Location: Agency is located at 350 Capitol Street, Room 251 , Charleston, WV 25301.


I       2.2      Background: The Bureau for Medical Services (BMS), the Bureau for Children and
                 Families (BCF), and the Bureau for Behavioral Health and Health Facilities (BHHF) are
                 seeking a vendor to provide a quality comprehensive utilization management system
                 that would be used across Bureaus. The program would prior authorize both behavioral
                 health and medically necessary services as well as socially necessary services. The
f
I                system will also be able to provide accurate and timely data reports on service
                 utilization for all services under this RFP.

        PART 3 SCOPE OF WORK
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        3.1 General Requirements
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I       3.1.1     Vendor is to manage program utilization through prior authorization and intensive case
                  management to assure that those services, which are covered by Medicaid, BCF and
                  BHHF, are sufficient in extent, duration, and scope, that the provision of those
f                 services are appropriately documented in provider and recipient files, and that the
                  services rendered are authorized within the Medicaid, Child Welfare and Behavioral
                  Health Program coverage and benefit limitations in effect as of the date of service.
        3.1.2     Vendor is responsible for any data processing or systems modifications required to
                  accomplish systems access during the life of the contract without the requiring of
I                 modifications to the existing (agency) systems.
        3.1 .3    Vendor is to maintain secure electronic communication with Bureau for Medical
                  Services (BMS), BCF, BHHF, and/or contractors which have financial, case
                  management, and/or custody responsibilities for members.
        3.1.4     Vendor is to have a communication plan that will provide feedback to the Medicaid
                  Program and our sub contractors, which will assist in the statewide administration of
                  the Medicaid Program, Child Welfare and BHHF, through generating utilization profiles
                  on all the program areas subject to review and utilization management.
        3.1.5     Vendor is to communicate denial notices to the provider, member, and/or member's
                  legal representative when appropriate, and how they will specify what elements of
                  admission and continued stay criteria were not met, and include provider/ practitioner
                  reconsideration and the member's right to appeal for state fair hearing.
        3.1.6     Vendor is to meet the same requirements concerning the Medicaid agency's
                  obligation to assure that services reimbursed by Medicaid are medically necessary,
                  appropriate, provided in the appropriate setting, and most cost effective manner for
                  that target population identified. - (such as the Bureau for Children and Families and
                  covered under their •special medical card" process, for out of state residential facilities
                  under a provider agreement with the Bureau for Children and Families.)
        3.1.7     Vendor is to perform functions necessary to support compliance with state and federal
                  requirements for medically necessary services.
        3.1.8    Vendor is to have the capacity to accept all prior authorizations in a web based format.


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 3.1 .9    Vendor is responsible for providing service and retrospective reviews for
           authorizations requests as outlined in policy.
3.1.10     Vendor is responsible for providing start-up and operations tasks and subtasks
            including access to agency or other systems including the Medicaid Management
           lnfonnation System (MMIS) and the Family and Children's Tracking System (FACTS),
           utilization review and authorization of utilization management of all behavioral and
           medical services listed and socially necessary services in this document. The
           Families and Children Tracking System (FACTS) bi-directional interface and all of the
           associated electronic data structures, data transmittal processing and application
           functionality will remain unchanged. The Vendor is required to accept data transfers
           in the current formats and correct exceptions for processing. This includes but is not
           limited to changes in the client identification that supports utilization reporting.
3.1.11     Vendor is to provide timely reports and accurate reporting and analysis of practices for
           all areas of review. This plan may be accomplished through, but not limited to, such
           activities as accurate and timely data reporting, trend analysis, and retrospective
           reviews for authorization and meeting of invoicing requirements of BCF, BMS, and
           BHHF.
3.1 .12   Vendor is to assure that denial notices specify criteria which were deemed "not met" in
          the behavioral or medical necessity review or socially necessary review.
3.1.13    Vendor is to receive requests via secure electronic media, web based, telephonic, or
          written request through the mail for all services that require medical necessity. Vendor
          is to receive web based requests for all socially necessary services.
3.1 .14    Vendor is to develop, utilization and on-going analysis of a basic medical/behavioral
           health assessment (which may be standardized and specified by the Department) to
           be used for initial and on-going assessment of consumer progress in treatment,
           identification of approprtateness of level of service, and for preparation of certain
          federal reports ( NOMS , TEDS, URS tables, Block grant report requirement); said
          assessment shall include a specific subsection for individuals with addictive disorders
          and/or children/adolescents; information to be collected from State psychiatric
          hospitals, upon entry into the system, at regular intervals and at critical treatment
          junctures; production of requested reports as necessary; also, collection of the same
          basic demographic information regarding individuals admitted to private free-standing
          or distinct part psychiatric hospitals as diversion from state-operated psychiatric
          hospitals upon admission.
3.1.15    Vendor is to collect and process basic information about persons served under the
          Clinic and Rehabilitation, Psychology, and other behavioral health specialty manuals
          including demographic information, diagnosis, medical eligibility for service, level of
          service need and other basic service information; information to be collected upon
          initial entry into the system, at regular intervals and at critical junctures.
3.1 .16   Vendor is to collect and process the same basic information submitted by licensed
           behavioral health providers and socially necessary providers as required by the
          Department in contract/enrollment for individuals who are uninsured, other third party
          insured, or receiving services not funded by Medicaid; information to be collected
          upon initial entry into the system, at regular intervals, and at critical treatment
          junctures.



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 3.1.17    Vendor is to collaborate with the Department's fiscal agent in order to collect data
           necessary to produce quarterly reports regarding service utilization, prior
           authorization, and demographics; processing of such reports as necessary.
 3.1.18    Vendor is to provide technical assistance and training for BHHF providers regarding
           trends/performance/documentation/assessment/medical eligibility for services as
           requested not to exceed one per month in each agency region.
The Department agrees to provide the following:

Arrange for meetings with appropriate Department personnel for ongoing discussions and
briefings with Vendor personnel as necessary and/or requested in order to meet the service
requirements of this contract.

Use its best efforts to process for payment, in accordance with State law, Vendor's legitimate
and uncontested invoice, for goods and services which have been delivered and accepted.
Contractual charges must be submitted in a State approved invoice format.

Provide to the Vendor copies of all current administrative regulations, policies and guidelines
which are applicable to the performance of the Vendor's duties. At the scope of this contract,
but not included in its initial implementation. The Department will define such additional work
requirements to the Vendor in writing. Department acceptance of the work plan and pricing
proposal will also be provided to the Vendor in writing following State Purchasing approval of
appropriate contract change order. In no instance shall any extra contractual work be
commenced prior to State Purchasing approval of contract addendum .

The Department may identify the need for additional work activities within the scope of this
contract, but not included in its initial implementation. The Department will define such
additional work requirements to the Vendor in writing. Department acceptance of the work plan
and pricing proposal will also be provided to the Vendor in writing following State Purchasing
approval of appropriate contract change order. In no instance shall any extra contractual work
be commenced prior to State Purchasing approval of contract addendum.

3.1.2 Mandatory Requirements

3.1.2.1     Vendor shall meet the federal requirements concerning the Medicaid agency's
            obligation to assure that services reimbursed by Medicaid are necessary and
            appropriate and provided in the appropriate setting and most cost effective manner.
            (42 CFR Part 456 Subpart B)
3.1.2 .2   Vendor shall be responsible for authorizing services in conformance with current
           Medicaid Program coverage policy and benefit limitations. To meet this
           requirement, the Vendor must validate the member eligibility and Managed Care
           Organization (MCO) enrollment status of each request. If the member is assigned to
           an MCO or has other primary insurance coverage, the provider must be notified that
           the request must be submitted to the primary payer in conformance with the
           coverage, rules and procedures of the MCO or primary payer. If service is not
           covered by the MCO or primary payer, Medicaid will not cover.
3.1.2.3    Vendor shall provide prior authorize services as outlined in the member's benefit
           plan and the vendor is to respond within a 48 hour time frame for any prior
           authorizations requests . Vendor shall provide a process for reconsideration to that
           takes no longer than 48 hours.
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    3.1.2.4        Vendor shall authorize the most economically advantageous item or service deemed
                   to meet the member's behavioral or medical requirements.
    3.1.2.5        Vendor shall refer any instances of suspected fraud to the Bureau's Office of Quality
                   and Program Integrity (OQPI). Instance of suspected fraud in the delivery of socially
                   necessary services shall be reported to the BCF Office of Finance and
                   Administration.
    3.1.2.6        Vendor shall attend and participate in member hearings as requested or on behalf of
                   a member who disputes their denial of services. The Vendor is to attend the hearing
                   either in person or telephonically, whatever is required by the Bureau's.
    3.1.2.7        Vendor shall maintain an office and professional staff in Charleston, West Virginia.
                   Vendor's office location shall be in a separate location from the state agency or
                   Medicaid bureau. Vendor must carry out professional review and administrative
                   activities from their Charleston, WV office locatfon because of frequent meetings
                   with the BMS, BCF, and BHHF.
    3.1.2.8        Professional staff shall include at a minimum registered nurses, physician advisors,
                   psychiatrists, licensed psychologists, licensed MSW's, and physicians available for
                   review and reconsideration .
    3.1 .2 .9     For all review activities for which there is national standard criteria available, the
                  Vendor must identify those criteria (lnterqual is preferred but not required}, and
                  provide an analysis of the pros and cons of utilizing said criteria in the West Virginia
                  Medicaid contract. In evaluating the proposals, the Bureau may, at its option,
                  require use of any or all criteria sets so identified. Also, Council on Accreditation
                  (COA) standards or other standards as identified and recommended by BCF.
    3.1.2.10      Vendor must review and stay current with evidenced based criteria, and if
                  appropriate and necessary, recommend updates and/or alternative criteria. If there
                  is no specified criteria for a requested non-covered service at the request of the
                  bureau the vendor will research and render a recommendation subject to Bureaus'
                  approval.
    3 .1.2.11     All tracking of infonnation for statistical and reporting purposes must be performed
                  utilizing Medicaid member ID, Family and Children's Tracking System (FACTS}
                  Client ID, and provider ID numbers, in addition to any Social Security numbers
                  and/or provider FEIN numbers.
3.1 .2.12         Any denial notices, shall be communicated in writing to the referring practitioner,
                  provider of services, admitting facility, member and legal representative. Any
                  approval notices shall be communicated in writing as deemed appropriate by
                  Bureau.
3.1.2.13          Any denial notices shall identify criteria which were deemed not met during the
                  review process and advise the practitioner of the reconsideration process and the
                  member of their right to appeal.
3.1.2.14          Vendor shall have a system to ensure emergency admissions, or an admission in
                  which member eligibility for the service is determined retroactively, will be subject to
                  retrospective review.
3.1.2.15          Vendor shall issue prior authorizations through direct entry into the prior
                  authorization module of the Medicaid Management Information System (MMIS) or


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             through the electronic interface with FACTS and MMIS or other means with approval
             from the Bureau.
 3.1.2.16    Vendor shall review both in network and out of network services for medically
             necessity at the closest in network location. This also applies to the services
             covered by the BCF "special medical card", group residential facilities and
             Psychiatric Residential Treatment Facilities (PRTF's) located outside the borders of
             WV, the WV Children's Home and Socially Necessary Services.
 3.1.2 .17   Retroactive Quality Review - A review for Socially Necessary Services covered by
             the Bureaus shall be conducted by the vendor. This review process shall include
             analysis of the services provided by the specific provider, an assurance that the staff
             providing the service and/or the agency have the appropriate and current credentials
             necessary and that the case documentation and invoice reflect that the service was
             provided according to the established UM Guidelines. Providers shall be reviewed
             on an 18 month cycle unless a request is made by either Bureau for a specific
             provider(s).
3.1.2.18     Vendor shall provide the BCF OF&A a schedule of retroactive quality reviews to be
             conducted on Socially Necessary service providers. The BCF OF&A shall provide a
             sampling of invoices to the vendor for claims made for socially necessary services.
             As a part of the retrospective review, the vendor shall review the supporting
             documentation in the provider records to ensure the services invoiced and paid for
             have been provided and all reports have been sent to the Department.
3.1 .2.19    Any work product developed during the course of implementation can not be
             considered proprietary.
3.1 .2.20    Vendor shall provide BMS a schedule of all retroactive quality reviews to be
             conducted for BMS service providers. As a part of the review process the vendor
             shall propose a quality management plan for the BMS services as well as a
             schedule of the review cycle. This will include all the total quality management
             services for the Title XIX Mental Retardation/ Developmental Disabilities Waiver in
             order to meet the CMS standards for the program.
3.1.2.21     Vendor shall indicate use of any subcontractor and obtain BMS approval for the
             subcontractor.
3.1.2.22     Vendor shall submit to a readiness review at least 30 days prior to implementation.
3.1.2.23     Vendor shall at the expiration of this contract or at anytime that the Agency desires a
             transition of all or any part of the duties or obligations the Vendor will be given sixty
             day notice. A turnover process will commence immediately at no cost to the agency.
3.1.2.24     In the event that a subsequent vendor is unable to assume operations on the
             planned date of transfer, the Vendor will continue to perform all services on a month
             to month basis for up to six months beyond the planned turnover date.
3 .1.2 .25   The vendor will complete a turnover plan within 180 days of the contract award and
             the plan must be approved by BMS.
3.1.3 REPORTING {Mandatory)
3.1.3.1      Standard on-going reports shall be generated at a fixed time each month as agreed
             upon by all parties. Any change in the agreed upon time for generating standard
             reports will be agreed to in a fonnal written document. Only upon the written

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                    direction of agency, shall the Vendor supply copies of information and reports to
                    other parties.
    3.1.3.2         Vendor shall provide the agency and its sub contractors with ad hoc reports as
                    requested. No report request should take longer than 14 days to complete.
    3.1.3.3         Vendor shall generate accurate and timely monthly reports to the agency and its sub
                    contractors.
    3.1.3.4         Monthly Report on service utilization with year to date totals.
    3.1.3.5     Monthly Number of members approved, denied services, and overall approval and
                denial rates.
    3.1 .3 .6   Monthly Number and disposition of requests for reconsideration and overall approval
                and denial rates.
    3.1.3. 7    Monthly Reports to include the cost of the services and the cost of UM activity.
    3.1.3.8     Quarterly Report on all training and technical assistance activities related to
                utilization management activities.
    3.1.3.9     Vendor is to provide diagnostic, and symptom otology reports for behavioral health
                services.
    3.1.4.1     UTILIZATION/PRIOR AUTHORIZATION SERVICES
    Vendor is to assure that the following factors are considered or verified prior to issuing
    approval for covered services. Note: the fiscal agents of Medicaid and subcontractors' online
    system can assist with the verification of some of the following factors:
                •     Verify member eligibility and Managed Care Organization (MCO) coverage.
                •     Verify BHHF eligibility.
                •     Verify referral for socially necessary services by BCF workers.
                •     Verify provider and facility enrollment.
                •     Verify and communicate to agency if there are other payer sources involved with
                      the services being requested, i.e., Rehabilitation, Workers' Compensation, Third
                      Party.
                •     Verify that the service requested is actually covered by the Benefit Plan.
                •     Verify service limits or if there are limitations attached to the coverage.
                •     Verify that the appropriate CPT/HCPCS codes and service codes have been
                      identified for the service requested .
                •     Professional staff ( such as Physician Advisor, Nurse Reviewer, Social Worker)
                      must be able to review for behavioral and medical necessity, social necessity,
                      appropriateness, cost efficiency and approve services based on Medicaid
                      coverage, SN coverage, and behavioral health coverage guidelines, limitations,
                      and eligibility.
                •     Accommodate the use of the Natlonal Provider Number (NPI)



3.1.4.2         BUREAU FOR CHILDREN & FAM(LIES

The BUREAU OF CHILDREN & FAMILIES provides and/or arranges for a variety of social
services that are socially necessary (SN) for children , youth and families in WV. The Social
Services to be covered are those direct services covered under Child Protective Services

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    (CPS), Youth Services (YS), Foster Care and Adoption. Vendor is to utilize established
    Socially Necessary definitions according to BCF policies and standards. Any deviation from
    these standards must have BCF prior approval. Vendor is to work collaboratively with the
    Department and to perfonn functions necessary to support compliance with state and federal
    requirements for Child Welfare Services (Family Support, Family Perseveration, Foster Care,
    Reunification and Adoption.)

    The following list of services require prior authorization. Specific definitions of services may be
    subject to change due to changes in federal or state regulations, or changes in state child
    welfare policy.

      a)    Needs AssessmenVService Plan
      b}    Case Management
     c)     Adult Life Skills
     d}     General Parenting
     e)     Individualized Parenting
     f)     Child-Oriented Activity
     g}     Group Child-Oriented Activity
     h)     Public Transportation Family
     i}     Private Transportation
     j)     Agency Transportation
     k)     Safety Services
     I)     Emergency Respite
I    m)
     n)
            Supervision
            Social/ Emotional Support
f    o)     Comprehensive Assessment and Planning System (CAPS) Family Assessment
     p)    Case Management (CAPS)
     q)    Family Crisis Response
     r)    Respite
     s)    Home Maker Services
     t)    Supervised Visitation One
     u)    Supervised Visitation Two
     v)    Multi disciplinary treatment team (MDT) Attendance
     w)    In State Home Study
     x)    Out of State Home Study
     y)    Intervention Travel Time
     z)    Transport Time
     aa)   Connection Visit
    bb)    Daily Respite
     cc)   Tutoring
    dd)    Lodging
     ee}   Meals
    ff)    Intensive Therapeutic Recreation Exp
    gg)    Pre-Reunification Support
    hh)    Away From Supervision Support
    ii)    Public Transportation One
    jj)    Public Transportation Two
    kk)    Public Transportation Three
    ii)    Private Transportation One Foster Family
    mm)    Private Transportation Two Foster Family
    nn)    Private Transportation Three Foster Family
    oo)    Agency Transportation One
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pp) Agency Transportation Two
qq) Agency Transportation Three
rr) Chafee Pre Placement
SS) Chafee 2/1
tt) Chafee 2/2
uu) Crisis Respite
w) Lodging Pre Adoptive
ww) Meals Pre Adoptive
xx) Family and Needs Assessment
yy) Individual Review
zz) Community Based Teams


3.1 .4.3      BUREAU FOR HEALTH & HEALTH FACILITIES
Current list of BHHF services or programs requiring prior authorization. Specific codes or
services may be subject to change due to changes in national codes, changes in federal or
state regulations, or changes in state BHHF policy.

a) Forensic Psychiatric
 b) Forensic Psychological
c) Targeted Case Management
d) Service Coordination
e) Behavioral Health Specialty, Clinic and Rehab
f) Behavioral Health Services for the uninsured
g) Psychiatric Admissions- Inpatient private and state
h) Psychiatric Residential Treatment Facilities (PRTF)
i) Substance Abuse Residential
j) Preparation of Waiver Packets
k) Behavioral Health Support Services
I) Peer support services
m) Mental Health Supervised Residential
n) Crisis Intervention

3.1 .4.4     BUREAU FOR MEDICAL SERVICES
Current list of Bureau for Medical Services (Medicaid) services or programs requiring prior
authorization. Specific codes or services may be subject to change due to changes in national
codes, changes in federal or state regulations, or changes in state Medicaid policy.

Each of the broad general service areas listed below have a number of different components
which will be subject to medical necessity review, authorization. and reporting. The Bureau
utilizes MCO services for a part of its population. For those services which are MCO covered,
and for members who are assigned to an MCO, the utilization review prior approval
requirements are the responsibility of the MCO, (subject to the coverage, rules, and
authorization procedures specific to the MCO) not to be subject to review by the potential
vendor bidding on this RFP.

a) Targeted Case Management (TCM)

Vendor is to review all targeted case management service requests requiring prior
authorization. Vendor may only PA TCM requests for one provider per member if requested by
BMS.
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 b)    Clinic, Rehab Services and Crisis Stabilization

 The Vendor is to review all clinic, rehabilitation services, and crisis stabilization requests
 requiring prior authorization.

 c)    General and Acute Care Inpatient Hospital Admission and Continued Stay review.

All inpatient admissions are to be reviewed subject to the Agency approved criteria.

All inpatient psychiatric admissions are subject to continued stay reviews. The initial admission
will be assigned a length of stay not to exceed four ( 4) days, with continued stay re-certification
consistent with the patient's needs as defined by the applicable criteria. Any inpatient stays not
paid by DRG will be subject to continues stay.

Prior authorization/review of extended stay beyond four (4) days for individuals diverted to
private free-standing or distinct part psychiatric hospitals as diversion from state-operated
psychiatric hospitals; authorization to be provided or denied within 24 hours of request
(excepting weekends/holidays); evaluation of appropriateness to be conducted by a licensed
clinical behavioral health professional or medical professional with behavioral health
experience.

d)     Psychiatric Inpatient Facilities, Psych Under 21 years of age, and PsychiatricResidential
      Treatment Facilities (PRTF) for Individuals under 21 years of age (In State and Out of
      State)

Vendor is to prior authorize all PRTF services (In State and Out of State), to be provided within
48 hours of request; authorization to be evaluated by a licensed clinical behavioral health
professional or medical professional with behavioral health experience or behavioral health
professional in direct supervision for licensure.

Documentation will consist of State specified, plus any other Vendor specified documentation.
Any admission or continued stay approval must establish subsequent review intervals.

Approval and denial notices will be communicated electronically to the referring practitioner or
facility, the admitting facility, the member's legal representative, and if the child is involved in
the child welfare system of agency, the specific Bureau within agency (BCF/BHHF) and the
agency case worker must also receive a copy of the notice.

Notices of children/youth who have stabilized or are not making satisfactory progress to where
they may not meet medical necessity criteria will be communicated electronically to the facility
at which the child/youth is placed and the appropriate Bureau(s) within agency.

e)    Organ Transplant Services

Vendor is to review all requests for organ transplant services for prior authorization.
Vendor may recommend additional or alternative criteria, which may be implemented upon
approval by the Bureau for Medical Services. Vendor is to perform continuing medical case
management for post operative organ transplant patients.


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 f)    Partial Hospital Services

 Vendor is to review all requests for partial hospital services for prior authorization.
 Vendor is to review for medical necessity and authorize services subject to coverage, policy,
 and limitations with established criteria .

 g) Inpatient Rehabilitation Services for Individuals through 20 years of age in Freestanding
    Rehabilitation Facilities

 Review admission referrals from professional medical practitioners, and make a determination
 based on the referral information treabnent plan, and in light of established criteria, that the
 services required by the member can only be provided in an inpatient setting.

 The Vendor is to certify medical necessity for initial admission and designate an initial length of
 stay and perform periodic re-certifications for continued stay until the member has either aged
 out of the rehabilitation service, or reached maximum rehabilitation potential.

 h) General Dentistry, Orthodontic and Oral Health Services

 Vendor is to review general dentistry, orthodontic and oral/maxillofacial procedures/services
 that require prior authorization. Requests for prior authorization must include x-rays and dental
 molds as appropriate.

 i)   Occupational Therapy (OT)/ Physical Therapy (PT)

Vendor is to review occupational and physical therapy requests after members have received
twenty (20) visits per calendar year.

Vendor is to monitor the members benefit plan to assure that the allowances (20 therapies
Occupational Therapy, Physical Therapy, Speech Therapy combined) are not exceeded for
basic plan members.

j) Speech (ST)/ Language, and Audiology Services

All specified speech/language and audiology services to inciude hearing aids, speech
generating devices and cochlear implants require prior authorization.

Vendor is to monitor the members benefit plan to assure that the allowances (20 therapies
Occupational Therapy, Physical Therapy, Speech Therapy combined) are not exceeded for
basic plan members.

k) Durable Medical Equipment/Medical Supplies

Vendor is to review all durable medical equipment/ medical supplies requests for
equipment/supplies requiring prior authorization.

I)    Orthotic and Prosthetic Services

Vendor is to review all orthotic and prosthetic requests for devices requiring prior authorization.


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     m) Chiropractic Services

     Vendor is to review all chiropractic service requests for services requiring prior authorization
     regardless of place of service.

     n) Diagnostic Imaging/Radiology Services

    Vendor is to review all radiology services requiring prior authorization, regardless of place of
    service.

    o) Elective Surgery Procedures

    All elective surgery procedures regardless of place of service (ie. Inpatient or out patient
    setting, ambulatory surgery center or physician office) will require medical necessity review and
    prior authorization. This includes the gastric bypass procedures.

    p) Out-of-Network Services

    All out-of-network procedures/ services, whether perfonned in inpatient or outpatient settings,
    will require prior authorization from the vendor. Vendor will be required to inform the out-of-
    network provider of the process for enrollment. Vendor will need to assure that services can
    not be provided in the network. Vendor will assure that the out-of-network enrollment will be
    time limited to coincide to the prior authorization period. All out of network requests must be
    requested by a WV Medicaid enrolled practitioner. All documentation supporting the request
    must be from the Medicaid enrolled practitioner. Vendor is to request follow up from the
    referring physician - if appropriate and available to be completed in network.

    q) Podiatry

    Vendor is to review all podiatry procedure/service requests requiring prior authorization.

    r) Cardiac Rehabilitation

    Vendor is to review covered cardiac rehabilitation services for medical necessity.

    s) Pulmonary Rehabilitation

    Vendor is to review covered pulmonary rehabilitation services for medical necessity.

    t) Medical Case Management

    Certain categories of members will automatically be assigned to case management. Those
    Include organ transplant patients, private duty nursing services members, and members who
    have had gastric bypass. Others may be identified based on claims history reflecting
    inordinately high costs or intensity of services and /or other populations as defined by the
    Bureau for Medical Services or recommended by the vendor. The Vendor must evaluate
    referrals from medical case management to determine the feasibility of achieving significant
    improvements in member outcomes from coordination of services or fiscal advantages to
    managing the member services required . Vendor is to coordinate member services upon
    referral from BMS as needed.

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 u) Psychiatric Services

 Vendor is to review all psychiatric service requests requiring prior authorization.

Prior authorization of court-ordered forensic psychiatric evaluations for which the provider is
requesting payment exceeding the cap(s) set by policy at BHHF; authorization to be provided
within the same day of request if clinician is on site perfonning evaluation as request is made,
within 48 hours if clinician is not on site; authorization to be provided by a licensed psychiatrist,
licensed psychologist or an individual under direct supervision for a license as a psychologist
(with gold card);

v) Psychological services

Vendor is to review all psychological service requests requiring prior authorization.

Prior authorization of court-ordered forensic psychological evaluations for which the provider is
requesting payment exceeding the cap(s) set by policy at BHHF; authorization to be provided
within the same day of request if ciinician is on site performing evaluation as request is made,
within 48 hours if clinician is not on site; authorization to be provided by a licensed psychologist
or an individual under direct supervision for a license as a psychologist (with gold card);

Review admission referrals from professional medical practitioners and/or facilities, and make
a determination based on the referral infonnation treatment plan, and in light of established
criteria, for out of state group residential settings and the WV children's Home in which
children/youth are in agency custody, is an open Child Protective Services (CPS) I Youth
Services (YS) customer.

Prior authorization on certain high volume and/or high cost community-based outpatient or
residential services as identified by BHHF and according to standards to be developed in
conjunction with the contractor, within 24 hours if a crisis service, within 48 hours if otherwise;
assessment to be made by a licensed clinical behavioral health professional or an individual
under direct supervision for licensure;

w) Home health

Vendor is to prior authorize home health services after sixty (60 units) of all home health
services per individual in a calendar year. For those in the basic benefit prior authorization is
required for all services, to a maximum benefit of 25 units a year.

x)   Hospice

Vendor is to prior authorize all hospice service requests for diagnosis and documentation on
the member with less than 6 months of life expectancy.


y)   Personal Care

Vendor is to prior authorize personal care services and any provision of dual services to Aged
and Disabled Waiver members.

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      z)   Socially Necessary Services

      Vendor is to review all socially necessary services requests requiring prior authorization.

      aa) MR/DD Waiver Packets

      Vendor is to provide a system for prior authorization of BHHF funded MR/DD waiver packets.

      bb) Private Duty Nursing

      Vendor is to review and prior authorize all private duty nursing requests.

3.3   Special Terms and Conditions:

      3.3.1 Bid and Performance Bonds:
      A Performance Bond is only required of the successful Vendor. The Performance Bond will be
      in the amount of one and one half million dollars ($1 ,500,000). Prior to the issuance of each
      renewal option, the Vendor must present the Bureau with proof of a Performance Bond.

      3.3.2 Insurance Requirements:
      The Vendor as an independent Contractor is solely liable for the acts and omissions of its
      employees and agents. Proof of insurance will be provided by the Vendor at the time the
      contract is awarded. The Vendor will maintain and furnish proof of coverage of liability
      insurance for loss, damage, or injury (including death) of third parties arising from acts, and
      omissions on the part of the Vendor, Its agents and employees in the following amounts:
                a. For bodily injury (including death): minimum of $500,000.00 per person and a
                   minimum of $1,000,000.00 per occurrence.
                b. For property damage and professional liability: a minimum of $1,000,000.00 per
                   occurrence.

      3.3.3 License Requirements:
      Provide certification that Vendor is registered with the Secretary of State's Office to do
      business in West Virginia; provide evidence that Vendor is in good standing with the State
      Agency of Employment Programs as to Unemployment Compensation coverage and Worker's
      Compensation coverage or exempt from such coverage.

      3.3.4 Litigation Bond: Non-applicable to this proposal.

        3.3.5 HIPAA Business Associate Addendum:
      The West Virginia State Government HIPAA Business Associate Addendum (BAA}, approved
      by the Attorney General, and available online at the Purchasing Division's web site
      (http://www.state.wv.us/admin/purchase/vrc/hjpaa.htm) is hereby made part of the agreement.
      Provided that, the Agency meets the definition of a Covered Entity (45 CFR§160.1 03) and will
      be disclosing Protected Health lnfonnation (45 CFR§160.103) to the vendor.

        3.3.6 Debarment and Suspension:
      Vendor will not be considered In proposal process if debarred or suspended. Vendor must
      certify that no entity, agency or person associated with the vendor is debarred or suspended
                                                                                                    22


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 from conducting business with any federal or state agency of the United States of America .

 PART4          PROPOSAL FORMAT
 4.1     Vendor's Proposal Format:
 The proposal should be formatted in the same order, as listed below:
 Title page - Should state the RFP Subject and number, the name of the Vendor, Vendor's
 business address, telephone number, name of authorized contact person to speak on behalf of
 the Vendor. dated and signed.
 Table of Contents - Clearly identify the material by section and page number.
 Section I      Understanding of the Project Objectives and Time Lines
 Vendor is to respond with a proposal that reflects their understanding of the project objectives
 in Part 3 and a process for accomplishing the prior authorization services in a professional and
 efficient manner in accordance with federal and state requirements for each bureau. In addition
 to the services identified in Part 3, the Vendor is requested to provide the Optional Services
 listed below for each bureau.

 BUREAU FOR CHILDREN & FAMILIES

 aaa)   Other Socially Necessary Services - (Optional)
        Prior authorization and retrospective reviews of additional SN services approved by the
        BCF.

 BUREAU FOR HEALTH & HEALTH FACILITIES

        No optional services listed.

 BUREAU FOR MEDICAL SERVICES

        Optional List of Services: Bureau for Medical Service's may implement.

 cc)    Aged and Disabled Waiver (Optional)

        Vendor is requested to propose a methodology for conducting both the initial evaluation
        for individuals referred to the Aged and Disabled Waiver program who are not currently
        enrolled, as well as periodic re-evaluation to establish eliglbillty for continued
        participation. Both the initial evaluation for new patients seeking to enter the Waiver
        Program, and the first re-evaluation of patients currently receiving waiver services, will
        require a comprehensive evaluation of all the Preadmission Screening instrument's
        elements and all components of the criteria. The purpose of requiring that level of
        review or evaluation is to determine that patients coming into the program fully meet
        eligibility criteria, and to assure that member's currently in the program also fully meet
        all elements of criteria . Subsequent annual re-evaluations need not be as
        comprehensive or intensive as the initial evaluation and the first re-evaluation.
        Subsequent re-evaluations may focus on only those elements of a patient's condition,
        which might reasonably be expected to change over time. Vendor is to propose a
        review process which meets the following:

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          Assure that the medical eligibility determination process is conducted pursuant to
          approved criteria , and that the process is fair, equitable, and consistently applied
          throughout the state.

          All initial evaluations is to be completed 'Nithin thirty (30) working days following receipt
          of referrals. Annual re-evaluations must occur prior to the anniversary date of the initial
          evaluation.

          Contact must be establish with the initial applicant, and arrange for a face to face
          evaluation in order to meet the time frame of a completed review within 30 days of the
          referral date.

          Contact tf done via telephone must be from a teJephone that can be easily identified as
          the vendor's telephone number. Vendor must have standard toll free number
          applicants/members to contact.

          This timeframe includes the contact if made with the applicant and/or contact person (if
          applicable), to schedule a home visit allo'Ning at least two weeks notice. It also includes
          the two weeks for additional information to be obtained in the event a potential denial is
          issued.

          If the applicant has identified a guardian, no home visit shall be scheduled without
          presence of the guardian, contact person or legal representative; and/or if the physician
          referral form indicates that the applicant suffers from Alzheimer's multi-infarct, senile
          dementia, or related condition, no home visit shall be scheduled without another
          individual designated by the applicant present to assist the individual during the
          interview. BMS will be notified with a remedial action plan, of any extenuating
          circumstances that may impact the tum around time for initial evaluations.

          If the field staff is unable to establish contact after three exhaustive episodes of
          attempts, the referral source must be notified of the fact within three days of referral
          receipt

          At the time of the field staff face to face visit with the member/applicant, information will
          be obtained on which to base the medical eligibility determination for participation in the
          Waiver Program. Additionally, the applicant will at that time be provided a list of
          available case management and homemaker agencies within their region, and
          requested to indicate their selection should they be approved for Waiver services. That
          information will be submitted as a part of the approval document. If selection is not
          made by the applicant, that also will be indicated on the evaluation document for use by
          the Bureau for Medical Services and Bureau of Senior Services Program staff.

          Vendor staff (registered nurses) will be available by telephone or in person in the event
          of an appeal of a PAS 2000 determination.

          Vendor staff will assure that all state and federal guidelines are met in detennining
          medical eligibility for the Aged and Disabled Waiver program .


    dd)   Mental Retardation/Developmental Disabilities (MR/DD) Waiver Services (Optional)

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        The State of West Virginia has submitted a plan that has been approved by the Centers
        for Medicare and Medicaid Services (CMS) for the methodology for determining the
        support/service need of individuals in the MR/DD Waiver program.

        In order to address the approved plan, the vendor should propose a plan for the following:

        •   To provide the member and family/guardian education in self direction, available
            services, budgeting, policy and program parameters, provider choices, consumer rights,
            and assessment of risk.

        •   A process for independently assessing member certification and recertification, and the
            needs and determining a budget that includes the member, family/guardian, and other
            significant individuals in the life of the member in completing the Client & Agency
            Planning Assessment (ICAP} and Supports Intensity Scale (SIS}.

       •    A process to determine a waiver service allowance allocated to the member based
            upon the ICAP and SIS that takes into account the service and the supports that will be
            needed by the member along with variables that may be unique to West Virginia .

       •    A methodology whereas the member along with their service coordinator can purchase
            the services selected. After the member has selected services based upon the service
            allowance allocated and also within policy and program parameter, and the ability to link
            the request with the claims processor.

       •    A methodology for over riding or extending the budget level for unplanned events such
            as consumer or family crisis or a member or family medical need.

       •    A quality management plan and activities to assure compllance with CMS MR/DD
            Waiver standards.

ee)    Vision Services - (Optional)

       Vendor is to review all vision procedure/service and vision training requests requiring
       prior authorization.

ff)    Laboratory Services - (Optional)

       Vendor is to review all laboratory services requiring prior authorization regardless of
       place of service.

gg)    Nursing Home Eligibility and PASRR Eligibility- (Optional)

       Request for determination of medical necessity for nursing facility services are to be
       received by the Vendor via fax, web based, or mall. Request will be received in written
       form only, and only those items submitted according to the prescribed fonnat identified
       as the state designated long tenn care eligibility pre-admission assessment (PAS)
       instrument. Reviewed decisions must be communicated to the requesting party in
       writing via fax or mail within 48 hours of receipt of a request that can be approved at the
       registered nurse level of review. If a decision cannot be made at the RN level of review,
       the referral for physician review must be made within 24 hours of receipt of the original
                                                                                                  25


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           request. lf the RN reviewer requires additional infonnation, that information will be
           requested on the date the PAS is received. A decision of eligibility at the RN level, must
           be made within 24 hours after receipt of the requested additional information. If a case
           requires referral for physician review, the approval denial must be made within 24 hours
           of the referral. Additional infonnation required by the physician reviewer must be
           requested within 24 hours of referral to the physician, with the physician review
           determination transmitted to the originating facility within 24 hours of receipt of the
           additional information. Requests received after 12:00 PM on Friday, or a day preceding
           a holiday, must be acted upon the first worl<lng day following the holiday or weekend.
           The above time frames will then apply.

           As part of the medical determination process, the Vendor is to review the infonnation
           submitted to identify possible presence of mental retardation, developmental disability,
           and/or an associated condition, or major mental illness. If as part of the medical
           necessity determination, the Vendor identifies the presence of, or there is a need to rule
           out mental illness, mental retardation, an associated condition, or a developmental
J          disability diagnosis, the referring party, whether a hospital, physician, or other agency,
f          will be notified of that determination. It Is the responsibility of the referring facility,
           practitioner, or agency to initiate the Level II Pre.admission Screening and Resident

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           Review (PASRR).

           All notices, approval and denial from the Vendor, will be transmitted to the originating



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           provider, as well as to the member/ legal representative. Denial notices must identify
           criteria which were deemed not met In the review process and advise
           provider/member/legal representative. The member/ legal representative is also notified
           of their right of an appeal and provide the appeal fonn to the member/ legal




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           representative.

           Vendor is to request additional infonnation from the provider as credible evidence (ie.
           Minimum Data Set (MOS) Section MG," Activities of Daily Living (AOL) sheets, care plan
           notes, physician progress notes, nurses notes, other pertinent needed infonnation)
J          within 5 days to be reviewed during appeal hearings. The Vendor will attend and
           partlcipate in an fair hearings for denials of covered services. The Vendor will support/
           review/ identify, during the hearing process, the documentation that provides
           supporting/ contradicting information.

    hh)    Other Public Payers PEIA and SCHIP (Optional)

           Other government payers can opt to utilize the services of the vendor. Propose a
           system with timelines and internal controls that could accommodate other government
           payers such as SCHIP and PEIA.




    Section II    Vendor Experience
    Vendor should provide assurances of capability and experience related to the type review
    defined in this RFP , as defined in Part 3, Section 3.1. Additionally, the Vendor should
    comment on specific experience as related to review requirements. The Vendor should have

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 served as the primary contractor in at least one contract covering the type of review defined in
 this RFP in Part 3, Section 3.1.
 Section Ill    Qualifications of Project Staff
 Vendor should identify the qualifications of current and anticipated staff, and the credentials of
 the staff members, specific to the required review functions defined in this RFP.
 Section IV     Project Work Plan
 Vendor should have a work plan with time lines, policies, procedures, and internal controls for
 start up activities, systems development and implementation for all prior authorization
 processes for all services listed including retroactive quality reviews, and all optional services
 in the RFP.
 Vendor should comment on plans for establishment of its administrative offices locally, and of
 the interface between that office and the state administrative offices, Bureau for Medical
 Services and other Bureaus. Additionally, Vendor should describe how they will interface with
 the Department of Health and Human Resources (AGENCY) data systems and any data
 processing subcontractors as necessary and how they will utilize the current fiscal agents
 system to enter authorizations on line for in network and out-of-network services within
 specified timeframes.
 Vendor should define a project work plan which graphically displays project, deliverables and
 milestones with specific completion dates leading to implementation of statewide review within
 ninety (90) days of contract award. Project work plan should address plans for implementing
 the review functions in time lines, and for reporting requirements.
Vendor will have a transition plan with time lines, policy, processes, and internal controls to
transition all services including optional services to a new vendor, if needed to assure no loss
of service occurs during any transition.

Section V      Cost Proposal
Potential vendors are bidding on a five (5) year project, with original first year, and option to
review for (4) four renewal years. The bids shall be separated by Agency, .(BCF, BHHF and
BMS), but the overall total is the evaluated cost. Bid prices must be expressed as a fixed price
bid for each of the (5) five years. Proposal must identify cost associated with each review
function. The review cost will include all costs, including reporting costs associated with each
function. Where there are optional activities and/or optional components of a bid, the per year
and total fixed cost for (5) five years, must be stated in such a way as to reflect the cost of the
bid with the options and cost of the bid, minus the options. Potential vendors may utilize the
sample bid sheets transmitted as Part 4.5 bid sheets, or submit equivalent information In
vendor design formats.
4.2    Evaluation Process:
       The proposals will be evaluated by a committee of three (3} or more Individuals in
       accordance with the criteria stated. The Vendor who meets all the mandatory
       specifications, attains the final highest point score of all vendors (possible one-hundred
       (100) points maximum) shall be awarded the contract. The selection of the successful
       vendor will be made by a consensus of the evaluation committee.
4.3    Evaluation Criteria: The following are the evaluation factors and maximum points
       possible for technical point scores:

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          Section I Understanding of the Project Objective and Time Line
                                   (Part 4, Section I, Part 3, Scope of work)
          Section 11 Vendor Experience
                                                                                     25 Points Possible

                                                                                      15 Points Possible
                                   (Part 4, Section II)
          Section 111 Qualifications for Project Staff                                15 Points Possible
                                   (Part 4, Section Ill)
          Section IV Project Work Plan                                               15 Points Possible
                                   (Part 4, Section IV)
          Section V Cost Proposal                                                    30 Points Possible
                                   (Part 4, Section V)
                                                                             Total   100 Points Possible

          Each cost proposal cost will be evaluated by use of the following fonnula for all vendors who
          attained the Minimum acceptable score only:
                               Lowest price of all proposals
                                                                       x 30 =Price Score
                               Price of Proposal being evaluated

    4.4   Minimum Acceptable Score:
          Vendors must soore a minimum of 70% of the total technical points possible. The minimum
          qualifying score on the technical portion is 49 points. All vendors not attaining the minimum
          acceptable score (MAS) shall be disqualified and removed from further consideration.

          The State will select the successful vendor's proposal based on best value purchasing which is
          not necessarily the vendor with the lowest price. Cost is considered but is not the sole
          determining factor for award. The State does reserves the right to accept or reject any or all of
          the proposals, in whole or in part, without prejudice, if to do so is felt to be in the best interests
          of the State.

          Vendor's failure to provide complete and accurate infonnation may be considered grounds for
          disqualification. The State reserves the right, if necessary, to ask vendors for additional
          information to clarify their proposals.




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 4.5 Cost Proposal Format/Bid Sheets
                       Bureau for Children and Families


    Reviewed
                       Year 1       Yaar2      Year3     Year4   Year5    TOTAL
 Service/Program




Annual Total




Bidder


Signature


Date




                                             EXHIBIT 1
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4.5 Cost Proposat Format/Bid Sheets

               Bureau for Behavioral Health and Health Facilltles



   Reviewed
                     Year 1       Year2     Year 3      Year4       Years   TOTAL
Service/Program




Annual Total




Bidder


Signature


Date

                                                                              30



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 4.5 Cost Proposal FormaUBid Sheets

                          Bureau for Medical Services


    Reviewed
                       Year 1       Year2      Year3     Year4   Year5     TOTAL
 Service/Program




  Annual Total




Bidder


Signature


Date


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4.5 Cost Proposal Format/Bid Sheets


TOTAL ALL INCLUSIVE ANNUAL FEE FOR ALL BUREAUS




                              Grand Total $ _ _ _ _ _ _ _ _ _ _ __



   Grand Total With Optional Services $ - - - - - - - - - - - -




TOTAL ALL INCLUSIVE ANNUAL FEE FOR OPTIONAL SERVICES

AGED AND DISABLED WAIVER ....                Year1   ~~-~--~--~-


              (BMS Option)                   Ye ar 2_ _ _ _ _ _ _ _~--
                                             Year3~--~~-~----
                                             Year4._ _ _~--------
                                             Year5_________________


MR/DD WAIVER ..........................      Year1 _____________
             (BMS Option)                    Year 2
                                                  ·---~---------
                                             Year 3_ _~~---~----
                                             Year4
                                                  -------------
                                             Yea r 5~---~~--~----


                                                                             32


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 4.5 Cost Proposal Format/Bid Sheets

 VISION ................... ........... .... . .   Year1
                  (BMS Option)                     Yea r 2
                                                                -----------
                                                              -----------
                                                   Yea r 3_ _ _ _ _ _ _ _ _ __
                                                   Year4
                                                   Ye a r   5
                                                              -----------
                                                              -----------
 LABO RATORY ........... .... ..••. ...•...        Year1
                                                              -----------
                  (BMS Option)                     Yea r 2
                                                   Yea r 3
                                                              -----------
                                                          - - - -- - - - - - -
                                                   Yea r    4
                                                          - - - - - - - -- - -
                                                   Yea r S
                                                          -----------
NURSING FACILITY .... ................ .           Year 1
                                                           -----------
                  (BMS Option)                     Ye a r 2
                                                          - - - - -- -- - - -
                                                   Yea r 3
                                                          -----------
                                                   Yea r 4
                                                          - - - - - - - - - --
                                                   Yea r S
                                                          -----------
Other Public Payers PEIA and SCHIP..               Year 1_ _ _ _ _ _ _ __ __
                  (BMS Option)                     Year 2_ _ _ _ _ _ _ _ _ __
                                                   Year3
                                                           - - - - - - - - - --
                                                   Ye a r 4
                                                           -----------
                                                   Ye a r 5
                                                           -----------
Other Socially Necessary Services....              Year 1_ _ _ _ _ _ _ _ _ __
                  (BCF Option)                     Year 2._ _ _ _ _ _ _ _ _ __
                                                   Year3
                                                   Ye ar 4
                                                            -----------
                                                            -----------
                                                   Ye ar 5
                                                            -----------
Bidder


Signature


Date
                                                                                  33

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BMS90007 Utilization/Prior Authorization                                  DEFINITIONS



QEFINITIONS

Retroactive Qualltv Review- A review for Socially Necessary Services covered by BCF and
those behavioral health services covered by BHHF shall be conducted by the vendor. This
review process shall include analysis of the services provided by the specific provider, an
assurance that the staff providing the service and/or the agency have the appropriate and
current credentials necessary and the case documentation and Invoice reflect that the service
was provided according to the established UM Guidelines. Providers shall be reviewed on the
18th month cycle unless a request is made by either Bureau for a specific provider(s).

Member- for the purpose of this RFP, member is utilized to identify service recipient.

Retrospective Review - A review for medical necessity of covered Medicaid services
denied by primary payers, retroactive Medicaid eligibility, or emergent covered services
provided to enrolled members on weekends, holidays, or at a time the review process is
unavailable. A request for retrospective review must be submitted within seven business
days following the service. Retrospective review does not guarantee approval or payment.




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